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                                                                       Clerk, U.S. District Court, ILCD

                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS
                             URBANA DIVISION
____________________________________________________________________________

AOT HOLDING AG, individually and on             )
behalf of all others similarly situated,        )
                                                )
                    Plaintiff,                  )
      v.                                        )      Case No. 19-CV-2240
                                                )
ARCHER DANIELS MIDLAND CO.,                     )
                                                )
                    Defendant.                  )

                                          ORDER

      Plaintiff, AOT Holding AG, on behalf of all other similarly situated, filed a Class

Action Complaint (#1) against Defendant Archer Daniels Midland Company (“ADM”)

on September 4, 2019, alleging ADM manipulated the benchmark price of ethanol

downward in violation of the Commodity Exchange Act (7 U.S.C. §1, et seq.) (“CEA”).

ADM filed a Motion to Dismiss (#14) on November 4, 2019, to which Plaintiff filed a

Memorandum in Opposition (#20) on November 18, 2019, to which ADM filed a Reply

(#22) on November 26, 2019. Plaintiff then filed a Motion to File a Response to ADM’s

New Argument (#23) on December 2, 2019, which the court granted and allowed to be

filed on April 23, 2020. For the following reasons, ADM’s Motion to Dismiss (#14) is

GRANTED in part and DENIED in part.
       Summary of Complaint

       This is a putative class action case involving alleged manipulation of the market

price of ethanol by ADM. Plaintiff alleges that the manipulation occurred at the Argo,

Illinois, fuel terminal, the scene of daily trading for ethanol. The specific trading in

question occurred during the half hour “Market-on-Close” (MOC) window, a 30-minute

trading period for ethanol transactions between 1 and 1:30 pm every trading day at the

Argo Terminal. This trading window is crucial, because S&P Global Platts (“Platts”), a

provider of trading information in the ethanol market and other markets, creates the

daily Chicago Benchmark Price that determines the value of Chicago Ethanol

Derivatives. Platts uses the trading during the MOC to determine the daily Chicago

Benchmark Price. The benchmark price is used to price and settle numerous ethanol

derivatives on the New York Mercantile Exchange (“NYMEX”) and the Chicago Board

of Trade (“CBOT”), commodity exchanges operated by CME Group, Inc.

       Plaintiff AOT Holding AG alleges that, starting in November 2017 and

continuing through the filing of the instant suit in 2019, ADM flooded Argo terminal

with ethanol that it intentionally sold at artificially low prices in order to juice the

profits on its outsized short positions in related ethanol derivatives. Plaintiff alleges

that ADM “dramatically” shifted from buying to selling ethanol at Argo at the start and

for the duration of the alleged manipulation period; continued to produce and sell at

Argo even as prices fell and profits evaporated; sold at Argo for less than it could have




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received elsewhere; sold at prices below its variable cost of production; and priced

ethanol so aggressively during the MOC window that it captured 90% of all sales

influencing the Chicago Benchmark Price, despite having only 10% share of the US

ethanol market.

       At the same time, ADM orchestrated a scheme wherein it took massive “short”

positions in ethanol derivatives, betting that the price of ethanol would decline further.

To make sure that these derivative speculations would be extremely profitable, Plaintiff

alleges that ADM intentionally manipulated the price of ethanol downward through its

actions at the Argo Terminal.

       Plaintiff has sued ADM alleging that its “manipulative conduct and trading

activity alleged herein constituted manipulation of the Chicago Ethanol Terminal price

used to settle/price the aforementioned Chicago Ethanol Derivatives between

November 2017 and the present, in violation of the Commodity Exchange Act, 7 U.S.C.

§§ 6b(a), 6c(a), 9(1), 9(3), 13(a)(2), and 25(a), as well as 17 C.F.R. § 180.2.”

       Dismissal Under Rule 12(b)(6)

       ADM raises two main arguments in its Motion to Dismiss: (1) Plaintiff cannot

state a claim for illegal manipulation under the CEA because it failed to plead facts

plausibly showing that ADM illegally manipulated the ethanol benchmark price, and,

instead, the conduct alleged is more consistent with routine market conduct in line with

a wide swath of rational and competitive business strategies; and (2) Plaintiff failed to

plead facts that plausibly show an injury.




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       In deciding a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6),

the court accepts as true the well-pleaded facts in the complaint and draws from those

allegations all reasonable inferences in the plaintiff’s favor. Park Pet Shop, Inc. v. City of

Chicago, 872 F.3d 495, 499 (7th Cir. 2017). To survive a motion under Rule 12(b)(6), the

complaint must allege “enough facts to state a claim to relief that is plausible on its

face.” Park Pet Shop, 872 F.3d at 499, quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544,

570 (2007). “A claim has facial plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable” as alleged

in the complaint. Park Pet Shop, 872 F.3d at 499, quoting Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009).

       The court finds that, at this stage of the proceedings, taking all the allegations in

Plaintiff’s Complaint (#1) as true, reading the allegations in the light most favorable to

Plaintiff, and drawing all inferences in its favor, Plaintiff has stated a claim that is

plausible on its face and upon which relief could be granted. See Twombly, 550 U.S. at

570. The court further finds that Plaintiff’s Complaint describes the claim in sufficient

detail to give ADM fair notice of what the claim is and the grounds upon which it rests.

See Lugg v. Sutton, 368 F.Supp.3d 1257, 1260 (C.D. Ill. 2019), citing EEOC v. Concentra

Health Services, Inc., 496 F.3d 773, 776 (7th Cir. 2007). The court makes no determination

on the merits of ADM’s arguments, and all of ADM’s arguments may be reraised at a

later stage in the proceedings where the record can be more fully developed “and when

the applicable procedural rules permit a more fulsome and searching analysis.” See

Access 4 All, Inc. v. Chicago Grande, Inc., 2007 WL 1438167, at *1 (N.D. Ill. May 10, 2007).


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       Individual Statutory Causes of Action

       Defendant argues that, even the case is not dismissed in its entirety under

12(b)(6), the Complaint’s sole count should be dismissed to the extent it is based on

asserted violations of 7 U.S.C. §§ 6b(a) and 6c(a).

       7 U.S.C. §§ 6b(a)

       Section 6b(a) of the CEA, generally, prohibits fraud in commodity futures

contracts, and to establish a violation of the CEA’s anti-fraud provisions, a plaintiff

must prove: (1) the making of a misrepresentation, misleading statement, or a deceptive

omission; (2) scienter; and (3) materiality. Commodity Futures Trading Commission v.

International Financial Services (New York), Inc., 323 F.Supp.2d 482, 499 (S.D.N.Y. 2004),

citing CFTC v. R.J. Fitzgerald & Co., 310 F.3d 104, 115 (11th Cir. 2002). Such facts must be

pled with “particularity.” DGM Investments, Inc. v. New York Futures Exchange, Inc., 265

F.Supp.2d 254, 263 (S.D.N.Y. 2003); Commodity Futures Trading Commission v. American

Metals Exchange Corp., 693 F.Supp. 168, 190 (D.N.J. 1988) (fraud based complaints under

the CEA must be pled with sufficiently particularity to comply with Federal Rule of

Civil Procedure 9(b)). A plaintiff must additionally show that the fraud was: (1) in

connection with an order to make or the making of a contract of sale of a commodity for

future delivery, and (2) made for or on behalf of another person. Commodity Trading

Futures Commission v. Driver, 877 F.Supp.2d 968, 977 (C.D. Cal. 2012).

       Plaintiff does not dispute, or even respond to, ADM’s argument that it has not

specifically pled that ADM made a misrepresentation in connection with any order to

make or the making of any contract of sale of any commodity, or that ADM even made


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any misrepresentation at all. Therefore, the court finds Plaintiff has conceded this point.

See Bonte v. U.S. Bank, N.A., 624 F.3d 461, 466 (7th Cir. 2010) (“Failure to respond to an

argument ... results in waiver,” and results in a silence from which the court can infer

concession of an argument); Cintora v. Downey, 2010 WL 786014, at *4 (C.D. Ill. Mar. 4,

2010) (“The general rule in the Seventh Circuit is that a party’s failure to respond to an

opposing party’s argument implies concession.”).

       Plaintiff argues in response that nothing in the Federal Rules of Civil Procedure

requires it to draft a complaint specifying a single statute as the basis for the claim, and,

accordingly, if the court finds Plaintiff has stated a plausible claim of manipulation

under the CEA, the court can defer to a later stage any inquiry into how Plaintiff’s

alleged facts fit into the various legal theories codified under the CEA. See Forseth v.

Village of Sussex, 199 F.3d 363, 368 (7th Cir. 2000).

       Plaintiff has not pled allegations consistent with a fraud claim under § 6b(a), and

therefore the court dismisses the Complaint to the extent it is premised on that section

of the CEA. However, if Plaintiff discovers the necessary elements of a § 6b(a) claim

during discovery, amending the Complaint to add a new claim under that section may

be permissible. See Barren v. Northeast Regional Illinois Commuter Railroad Corp., 2015 WL

764105, at *2 (N.D. Ill. Feb. 23, 2015), citing Bower v. Jones, 978 F.2d 1004, 1010 (7th Cir.

1992). Plaintiff is reminded that, in order to add such a claim to its Complaint during

discovery, it must not currently be aware of facts supporting a § 6b(a) claim. See Barren,

2015 WL 764105, at *2, citing Tribble v. Evangelides, 670 F.3d 753, 761 (7th Cir. 2012). If it

is aware of such facts, it should file an amended complaint within 21 days of this Order


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stating a § 6b(a) claim with particularity. Further, if Plaintiff learns during discovery

that it has a § 6b(a) claim, it should not wait until the last weeks and days of discovery

to move to amend its Complaint, but should move immediately upon realization of the

claim to add it. See Barren, 2015 WL 764105, at *2, citing Tribble, 670 F.3d at 761, and

Hukic v. Aurora Loan Services, 588 F.3d 420, 432 (7th Cir. 2009). Plaintiff’s claim, to the

extent it is based on § 6b(a), is dismissed without prejudice.

       7 U.S.C. §§ 6c(a)

       ADM argues that any claim premised on § 6c(a) of the CEA must be dismissed

because that section does not provide for a private cause of action. ADM is correct.

       Section 4c(a)(1)-(2) of the CEA makes it unlawful to enter into, offer to enter into,

or confirm the execution of certain transactions, including a “fictitious sale” and any

transaction “used to cause any price to be reported, registered, or recorded that is not a

true and bona fide price[,]” and is codified as amended at 7 U.S.C. § 6c(a). Commodity

Futures Trading Commission v. TFS-ICAP, LLC, — F.Supp.3d —, 2020 WL 70940, at *2

(S.D.N.Y. Jan. 7, 2020). Section 4c, codified at 7 U.S.C. § 6c(a), “cannot sustain a private

cause of action.” Ploss v. Kraft Foods Group, Inc., 197 F.Supp.3d 1037, 1067 (N.D. Ill.

2016); Taylor v. Bear Stearns & Co., 572 F.Supp. 667, 676-79 (N.D. Ga. 1983). Therefore,

ADM’s motion is GRANTED on this ground. To the extent Plaintiff’s claim is premised

on § 6c(a) of the CEA, it is dismissed with prejudice.




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       Punitive Damages

       The parties dispute whether Plaintiff can recover punitive damages in this

matter. Initially, the CEA did not allow plaintiffs invoking the Act’s private right of

action to recover punitive damages. See Michelson v. Merrill Lynch, Pierce, Fenner &

Smith, Inc., 669 F.Supp. 1244, 1265-66 (S.D.N.Y. 1987) . The CEA was later amended,

however, to allow for punitive damages in certain circumstances.

       ADM argues that under § 25(a)(3), the authorization for both actual and punitive

damages is directed at “floor brokers” who violate the CEA when executing “an order

on the floor of a registered entity[.]” See 7 U.S.C. § 25(a)(3). ADM notes that Plaintiff

does not allege that ADM is a floor broker under the CEA. ADM further points to the

CEA’s legislative history to argue that punitive damages were only meant to be

available against floor brokers.

       Plaintiff responds that its action arises from ADM’s execution of orders for

ethanol futures on the floor of a registered entity, NYMEX. Plaintiff further argues that

awarding punitive damages against a manipulator of exchange-traded derivatives

would effectuate the CEA’s stated purpose to deter and prevent price manipulation and

the purpose of the punitive damages amendment to strengthen the regulatory

framework to deter and detect fraud and abuse that may be perpetuated on the floors of

futures markets. Plaintiff argues that statutory interpretation of § 25(a)(3), and the

legislative history, support its claim of punitive damages against ADM.




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       The parties are in agreement that there is a near total absence of case law about

the availability of punitive damages in circumstances analogous to those of the instant

case. The parties cite two cases that mention the punitive damages provision of the

CEA.

       In Gunderson v. ADM Investor Services, Inc., 2001 WL 624834 (N.D. Iowa, Feb. 13,

2001), the plaintiffs, a group of grain producers, sued defendants, commodity trading

advisors, grain elevators, introducing brokers, and futures commissions merchants, to

recover for fraud in promoting hedge-to-arrive (“HTA”) contracts. The court dismissed

the claim for punitive damages under the CEA, finding that the plaintiffs “have not

asserted that ADM [Investor Services, Inc.] willfully and intentionally committed

violations of the CEA arising from the execution of an order on the floor of a contract

market[.]” Gunderson, 2001 WL 624834, at *13. A punitive damages claim was dismissed

for the same reason in an earlier ruling in that case. Gunderson v. ADM Investor Services,

85 F.Supp.2d 892, 913 (N.D. Iowa 2000).

       In Eby v. Producers Co-op, Inc., 959 F.Supp. 428 (W.D. Mich. 1997), like in

Gunderson, the plaintiffs, farmers, alleged the defendant grain elevator operators

marketed hedge-to-arrive contracts that were fraudulent and in violation of the CEA in

that the defendants “misrepresented the risk, failed to provide risk disclosure, failed to

segregate funds, failed to provide confirmation and monthly statements and failed to

supervise handling of Plaintiffs’ accounts.” Eby, 959 F.Supp. at 429. The court noted

that “[t]he gist of the Plaintiffs’ CEA claim is that the Defendant’s HTA is a disguised

commodity futures contract which was executed outside of a proper contract market in


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violation of a number of provisions of the CEA[,]” and “[t]herefore the key

determination is whether the contracts are off-exchange futures contracts which are

prohibited under the CEA, 7 U.S.C. § 2(I), or a contract which falls under the cash

forward contract exclusion expressly exempting it from the reach of the CEA.” Eby, 959

F.Supp. at 433. The court dismissed the punitive damages request because, as in

Gunderson, “[t]he Plaintiffs have not alleged that the Defendants willfully and

intentionally committed violations of the CEA on the floor of a contract market.” Eby,

959 F.Supp. at 433.

       ADM’s only argument, in relation to the case law, is that the punitive damages

claim should be dismissed “[f]or the same reasons” as the dismissals in Gunderson and

Eby. Plaintiff responds that punitive damages were denied in Gunderson because those

cases involved “off-exchange” instruments that were not traded on a “registered entity”

such as NYMEX. The court agrees with Plaintiff that Gunderson and Eby are

distinguishable from the instant case in that regard. The price manipulations at issue in

this case involve ethanol derivatives traded on a registered entity.

       Paragraphs 1 through 6 of the Complaint contain a summary of Plaintiff’s

allegations in this case. Plaintiff alleges ADM manipulated the Chicago Ethanol

(Terminal) price, a key ethanol benchmark price that is used to price and settle

numerous ethanol derivatives traded on NYMEX. NYMEX is a registered entity under

the CEA. See 7 U.S.C. § 1a(40) (“The term “registered entity” means– (A) a board of




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trade designated as a contract market under section 7 of this title[.]”);

https://www.cmegroup.com/company/nymex.html (Last visited May 6, 2020); U.S.

Commodity Futures Trading Commission v. Oystacher, 2016 WL 3693429, at *19 (N.D. Ill.

July 12, 2016) (“The NYMEX and COMEX are commodity futures exchanges owned and

operated by the CME.”).

       Plaintiff alleges ADM orchestrated a plan to drive the Platts benchmark ethanol

price downward. While the downward manipulation occurred at the physical location

of the Argo Terminal, this manipulation in turn artificially increased the value of

ADM’s massive short positions in ethanol derivatives based on those same prices.

Essentially, the prices the ethanol derivatives were being traded at on NYMEX were

artificial, having been manipulated by ADM’s selling actions at Argo. Plaintiff alleges

that ADM’s manipulation of ethanol prices at Argo, including during the MOC

window, caused hundreds of millions of dollars in damages to entities that traded in

derivatives tied to Argo Terminal prices.

       Thus, even though the specific action of manipulating ethanol prices downward

occurred at Argo Terminal, these actions had the result of manipulating the price of

commodities derivatives traded on a registered entity, NYMEX. Therefore, unlike in

Gunderson and Eby, where the violations involved completely “off-exchange”

instruments, the CEA violation in this case arises, at least partially, out of the execution

of orders on the floor of a registered entity.




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       The final question pertaining to punitive damages under § 25(a)(3), is whether

punitive damages are available only against “floor brokers” as defined under the CEA.

ADM is, clearly, not a “floor broker.” See 7 U.S.C. § 1a(22) (definition of a “floor

broker”). Thus, if punitive damages under the CEA are available only against floor

brokers, Plaintiff’s punitive damages request must be dismissed. However, if as

Plaintiff argues, punitive damages are available against not just floor brokers

themselves but parties who direct the floor brokers to execute actions in violation of the

CEA, the punitive damages claim should survive. The parties did not cite to, and the

court could not find, any cases that address this issue. Therefore, the court must turn to

the statutory language of § 25(a)(3) to determine the scope of availability of punitive

damages under the CEA.

       In interpreting a statute, the court relies on traditional rules of statutory

interpretation, and “[a]nalysis of the statutory text, aided by established principles of

interpretation, control.” POM Wonderful LLC v. Coca-Cola, Co., 573 U.S. 102, 112 (2014).

When attempting to decipher the proper interpretation of a statute, the court begins by

determining whether the language at issue has a plain and unambiguous meaning with

regard to the particular dispute in the case. River Road Hotel Partners, LLC v.

Amalgamated Bank, 651 F.3d 642, 648-49 (7th Cir. 2011). The cardinal rule of statutory

interpretation is that courts must first look to the language of the statute and assume

that its plain meaning accurately expresses the legislative purpose. United States v.

Miscellaneous Firearms, Explosives, Destructive Devices and Ammunition, 376 F.3d 709, 712

(7th Cir. 2004). In determining whether the meaning of statutory language is plain or


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ambiguous, the court looks to the specific language at issue, the context in which the

language is used, and the broader context of the statute as a whole, and will not

construe the statute in a way that makes words or phrases meaningless, redundant, or

superfluous. Miscellaneous Firearms, 376 F.3d at 712.

       Reading the statutory text of § 25 as a whole, the court finds Plaintiff may recover

punitive damages against ADM. The court begins by examining the “actual damages”

provision of § 25(a)(1). That provision allows for a private right of action to recover

actual damages against a defendant who engages in commodity price manipulation.

Dennis v. JP Morgan Chase & Co., 343 F.Supp.3d 122, 173 (S.D.N.Y. 2018). The provision

states that “Any person ... who violates this chapter or who willfully aids, abets,

counsels, induces, or procures the commission of a violation of this chapter shall be

liable for actual damages resulting from one or more of the transactions referred to in

subparagraphs (A) through (D) of this paragraph...” 7 U.S.C. § 25(a)(1). There is no

dispute that ADM, a corporate entity, qualifies as a “person” who would be subject to

actual damages under § 25(a)(1) if it was found to be in violation of the CEA. See In re

Dairy Farmers of America, Inc. Cheese Antitrust Litigation, 801 F.3d 758, 765 (7th Cir. 2015)

(plaintiff could recover actual damages under § 25(a)(1) against Schreiber Foods, a

corporate entity, for violations of the CEA).

       Turning now to § 25(a)(3), that subsection states:

       In any action arising from a violation in the execution of an order on the
       floor of a registered entity, the person referred to in paragraph (1) shall be
       liable for--
               (A) actual damages proximately caused by such violation. If an
               award of actual damages is made against a floor broker in


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              connection with the execution of a customer order, and the futures
              commission merchant which selected the floor broker for the
              execution of the customer order is held to be responsible under
              section 2(a)(1) of this title for the floor broker’s violation, such
              futures commission merchant may be required to satisfy such
              award; and
              (B) where the violation is willful and intentional, punitive or
              exemplary damages equal to no more than two times the amount of
              such actual damages. If an award of punitive or exemplary
              damages is made against a floor broker in connection with the
              execution of a customer order, and the futures commission
              merchant which selected the floor broker for the execution of the
              customer order is held to be responsible under section 2(a)(1) of
              this title for the floor broker’s violation, such futures commission
              merchant may be required to satisfy such award if the floor broker
              fails to do so, except that such requirement shall apply to the
              futures commission merchant only if it willfully and intentionally
              selected the floor broker with the intent to assist or facilitate the
              floor broker’s violation.

7 U.S.C. § 25(a)(3).

       An examination of the statutory language reveals that § 25(a)(3) is concerned

primarily with CEA violations committed in connection with “an order executed on the

floor of a registered entity.” Section 25(a)(3)(A) states that “the person referred to in

paragraph (1) shall be liable for actual damages proximately caused by such a

violation.” Section 25(a)(3)(A) ends with “and,” indicating it is to be read in conjunction

with the Section 25(a)(3)(B). Section 25(a)(3)(B) indicates that “where the violation is

willful and intentional, punitive or exemplary damages equal to no more than two

times the amount of such actual damages.” Thus, a plain reading of the statute is that if

the person (such as ADM) who is engaged in commodity price manipulation in

violation of the CEA and is subject to actual damages under § 25(a)(1), also engaged in


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such manipulation via the execution of orders on the floor of a registered entity, then

that person is also subject to actual damages under § 25(a)(3)(A). Further, if the alleged

violation is willful and intentional, punitive or exemplary damages equal to no more

than two times the amount of such actual damages are available against such person

under § 25(a)(3)(B).

       Now, the question to be answered is whether “the person referred to in

paragraph (1)” must be a floor broker for § 25(a)(3)(B) to apply. Based on a plain

reading of § 25(a)(3)(A) and (B), the answer is no. The “floor broker” is only mentioned

in connection with the futures commission merchant’s responsibility to satisfy the

actual and/or punitive damages award against the broker if the broker fails to do so, if

the floor broker is found to have violated the CEA in the execution of a customer’s

order on the floor of a registered entity. There is nothing in § 25(a)(3)(B) that says the

customer is also not subject to punitive damages for ordering the floor broker to execute

orders that would violate the CEA. The portions of (a)(3)(A) and (a)(3)(B) following the

first sentence merely explain how futures commission merchants may satisfy awards

against floor brokers for CEA violations committed on the floor of registered entities.

They are, as Plaintiff notes, merely provisions for vicarious liability.

       Those sentences, however, do nothing to modify or narrow the first sentences of

subsections (a)(3)(A) and (B) that the person from subsection (a)(1), i.e. the “customer”

who gave the order to the floor broker that violated the CEA is liable for actual damages

under (a)(3)(A) and, if the violation was willful and intentional, punitive damages


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under (a)(3)(B). If Congress meant to limit damages under § 25(a)(3) to only floor

brokers, and not the customers who gave the illegal orders to the floor brokers to

execute, it could have easily done so. Congress did not do so. The court agrees with

Plaintiff that, if floor brokers were truly the only persons subject to punitive damages,

then it would not be necessary to use the qualifying language “[i]f an award of punitive

or exemplary damages is made against a floor broker.”

       Floor brokers are only one type of person potentially liable for punitive damages

under this section, not the only type. The court finds that the availability of punitive

damages under § 25(a)(3)(B) is not limited to only floor brokers who violate the CEA via

the execution of orders on the floor, but are also available against the customers, such as

ADM in this case, who gave the floor brokers those orders.

       The court’s reading of § 25(a)(3) is further borne out by the broader context of the

CEA as a whole. See Miscellaneous Firearms, 376 F.3d at 712. The purpose of the CEA is

to serve the public interests “to deter and prevent price manipulation or any other

disruptions to market integrity; to ensure the financial integrity of all transactions

subject to this chapter and the avoidance of systemic risk; to protect all market

participants from fraudulent or other abusive sales practices and misuses of customer

assets; and to promote responsible innovation and fair competition among boards of

trade, other markets and market participants.” 7 U.S.C. § 5(b). A constrained reading

of § 25(a)(3) to allow punitive damages only against the floor broker who executed the

illegal trades, but not against the corporate entity customer that allegedly concocted the


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scheme and directed the broker’s actions, would not serve the CEA’s stated purpose of

ensuring financial integrity of market transactions, protecting market participants from

fraudulent/abusive sales practices, and especially to deter and prevent market price

manipulations. Indeed, it would serve to insulate from liability the entity responsible

for the scheme in many cases.

       The court notes that, in the legislative history of the punitive damages

amendment, Senator Leahy stated “The bill is tough, but fair. It is a code of conduct that

any honest trader can live by. Very simply, under this bill, any floor trader1 cheating a

customer will be severely punished; any exchange not policing its floor will be forced to

clean up its act.” 138 Cong. Red. S17868-02, 1992 WL 279554. If one of the intentions

behind §25(a)(3) was to severely punish and deter floor traders and floor brokers from

cheating customers, would not the same reasoning apply to the customer itself if it was

the one directing the illegal actions of the floor brokers/traders and cheating other

buyers and sellers in the commodities market, as ADM is alleged to have done in this

case? The court believes its reading of § 25(a)(3) reflects the plain, unambiguous

language of the statute and best effectuates the purpose behind the CEA to deter price

manipulations in the commodities markets. ADM’s motion is DENIED on this ground.




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        As noted by Plaintiff, under the CEA, “floor traders” and “floor brokers” are
different, as brokers trade on behalf of others and traders trade on behalf of themselves,
lending credence to the court’s interpretation that § 25(a)(3) is not limited to floor
brokers. See 7 U.S.C. §§ 1a(22), (23).

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       IT IS THEREFORE ORDERED:

       (1) ADM’s Motion to Dismiss (#14) is GRANTED in part and DENIED in part. It

is granted as to any claims premised under 7 U.S.C. §§ 6c(a) and 6b(a). Claims under §

6c(a) are dismissed with prejudice, but claims under § 6b(a) are dismissed without

prejudice for the reasons stated in this Order.

       (2) This case is referred to the magistrate judge for further proceedings in

accordance with this Order.



       ENTERED this 22nd day of May, 2020.

                                  s/ COLIN S. BRUCE
                                U.S. DISTRICT JUDGE




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